                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF WISCONSIN
                       (MILWAUKEE DIVISION)

NANCY A. STENCIL, DANIEL C.       )
                                  )
RUSSLER, LISA C. MUELLER, CHERYL L.
MARANTO, GERARD D. LISI, JAMES B. )       Case No. 2:22-cv-00305
KURZ, MARGARET L. DEMUTH, PAUL    )
DEMAIN, JAMES R. BOTSFORD AND     )       Hon. Lynn Adelman
RICHARD BECHEN,                   )
                                  )
     Plaintiffs,                  )
                                  )
v.                                )
                                  )
RONALD H. JOHNSON, THOMAS P. )
TIFFANY, AND SCOTT L. FITZGERALD, )
                                  )
    Defendants.                   )
                                  )
                                                                   /


DEFENDANTS THOMAS P. TIFFANY AND SCOTT L. FITZGERALD’S RESPONSE
 IN OPPOSITION TO PLAINTIFFS’ CIVIL L.R. (7)(h) MOTION FOR LEAVE TO
                 CONDUCT EXPEDITED DISCOVERY




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       Pursuant to Civ. L. R. 7(h), Defendants Thomas P. Tiffany and Scott L. Fitzgerald hereby

oppose Plaintiffs’ Motion for Leave to Conduct Expedited Discovery (ECF No. 48):

       Consistent with the legal theories underlying their Complaint, Plaintiffs’ motion to

disregard the express bar against pre-answer discovery suffers from a litany of fatal defects.

Plaintiffs’ goal is to get a declaration from this Court finding that Defendants engaged in an

“insurrection” under the Disqualification Clause, with which Plaintiffs would then attempt to force

the State of Wisconsin (through its election commission) to bar Defendants from the ballot.

(Opp.’n at 14, ECF No. 23.) But as explained in the Defendants’ motions to dismiss, this Court

lacks the authority to adjudicate whether Defendants violated the Disqualification Clause because

Congress has not granted it the jurisdiction to do so, the State of Wisconsin lacks the power to

adjudicate such a challenge or enforce such a judgment, and, even then, Plaintiffs lack a cause of

action to request such an adjudication in the first place. Here, Plaintiffs’ motion for a fast-and-

loose fishing expedition suffers from similar defects, and should be denied accordingly.

       Discovery before the Rule 26 conference is both inappropriate and disfavored by courts.

Fed. R. Civ. P. 26(d)(1) (absent court order, “[a] party may not seek discovery from any source

before the parties have conferred as required by Rule 26(f),” an event that has not occurred here).

The question of “good cause” for permitting pre-answer discovery is not whether, as Plaintiffs

oversimplify, the need for discovery outweighs prejudice to the Defendants. Rather, the Court

“must evaluate the entirety of the record to date and the reasonableness of the request in light of

all the surrounding circumstances,” including these five factors: “(1) whether a preliminary

injunction is pending; (2) the breadth of the discovery requests; (3) the purpose for requesting the

expedited discovery; (4) the burden on the defendants to comply with the requests; and (5) how

far in advance of the typical discovery process the request was made.” Suzhou Parsun Power



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Machine Co., Ltd. v. Western Import Mfg. Dist’n Group Ltd., No. 10–C–398, 2010 WL 2925894

at *1 (E.D. Wis. Jul. 20, 2010) (cleaned up).1 Plaintiffs’ failure to address these factors requires

denial of their motion, and consideration of each such factor bolsters that result.

          The first factor clearly weighs against finding good cause for early discovery. Not only is

there no pending injunction, but two fully-briefed motions to dismiss are pending before the Court.

Expedited discovery is highly inappropriate in the presence of pending motions to dismiss, see

Dixon v. Ladish Co., Inc. No. 10–CV–1076, 2011 WL 719018 (E.D. Wis. Feb. 22, 2011),

especially when, as here, the motions challenge Plaintiffs’ standing, the Court’s jurisdiction, and

the absence of a legally cognizable claim. Permitting early discovery here not only puts the cart

before the horse, but it does so before Plaintiffs have satisfied their burden of showing the Court

that they even have a horse in the first place.

          The third and fifth factors—the purpose for requesting early discovery, and how far in

advance of typical discovery the request was made—further cut against Plaintiffs’ request.

Plaintiffs claim they need discovery because elections are coming and they want to make a case

that Defendants engaged in insurrection against the United States. But the question is not whether

discovery might be helpful to Plaintiffs—it is whether the purpose of that otherwise unauthorized

discovery would assist the Court with addressing the issues currently before it. Here, Plaintiffs’

request for early discovery has nothing to do with the threshold jurisdictional issues raised in the

motions to dismiss. Compare Share Corp. v. Momar, Inc. No. 10–CV–109, 2010 WL 724321

(E.D. Wis. Feb. 26, 2010) (no compelling purpose for early discovery), with Malibu Media, LLC

v. Doe, No. 13–CV–545, 2013 WL 2632691 (E.D. Wis. June 12, 2013) (cleaned up) (permitting

early discovery to identify unknown defendant as was necessary to move case forward.) Further,



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    Unreported decisions cited herein are attached as an exhibit in accordance with Civil L. R. 7(j)(2).
                                                    2

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to the extent Plaintiffs base their request on the upcoming elections, Plaintiffs have a self-dealt

hand. Plaintiffs filed this suit more than a year after the events alleged in the Complaint, and then

compounded their self-made delay by waiting 75 more days after filing suit to seek early discovery.

Plaintiffs’ motion should be denied. Spears v. City of Indianapolis, 74 F.3d 153, 157 (7th Cir.

1996) (parties who wait until the last minute “are playing with fire.”).

       Factors two and four—breadth of the requested early discovery and burden on

Defendants—likewise cut against Plaintiffs’ motion. While Plaintiffs attempt to build a veneer of

reasonableness by proposing to serve “no more than five” document requests, to limit Defendants’

depositions to five hours, and to “forego” third-party discovery until later, Plaintiffs have it

backwards. It is the scope of the requests that matter here, not the quantity, and Plaintiffs failed to

show what information those requests would seek. Thus, the Court cannot analyze the breadth of

the requests and corresponding burden on Defendants. See Share Corp., 2010 WL 724321 at *3

(rejecting request for expedited discovery that was “open-ended and broad”).

       Further, limiting Defendants’ depositions to five hours apiece and delaying third-party

discovery just won’t do. Under the Morgan Doctrine, a party must show exceptional circumstances

before deposing high-ranking government officials such as Members of Congress. United States

v. Morgan, 313 U.S. 409, 422 (1941). That Morgan Doctrine analysis—absent from Plaintiffs’

motion—requires a requesting party to satisfy several elements, including that the information

sought “is not available through any alternative source or less burdensome means.” Warzon v.

Drew, 155 F.R.D. 183, 185 (E.D.Wis. 1994), aff’d, 60 F.3d 1234 (7th Cir. 1995). Plaintiffs may

not skip those steps to redress their own self-caused delay. Just as Plaintiffs have failed to satisfy

their burdens to show Article III standing and that this Court has jurisdiction to hear this case, they

have also failed to show good cause for early discovery. Plaintiffs’ motion should be denied.



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Dated: May 31, 2022                           Respectfully submitted,

                                               /s/ Robert L. Avers

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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 31, 2022, I caused a true and correct copy of the foregoing

document to be served upon all counsel of record registered with the Court’s ECF system, by

electronic service via the Court’s ECF transmission facilities.


                                               /s/ Robert L. Avers




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